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UNITED STATES DISTRICT COURT

DISTRICT OF NEW JERSEY
UNITED STATES OF AMERICA : MAGISTRATE NO.: 20-16087
¥; | CRIMINAL ACTION
| ORDER OF RELEASE

Markice T. Lincoln

The Court orders the defendant, Markice T. Lincoln, is ordered released on a personal
recognizance bond with the following bail conditions:

(1) Reporting, as directed, to U.S. Pretrial Services;

(2) The defendant shall appear at all future court proceedings;

(3) Submit to drug testing and treatment, as deemed necessary;

(4) Other:

/s/ Markice T. Lincoln 09/17/2020

 

DEFENDANT DATE

It is further ORDERED that the defendant be furnished with a copy of this order and a notice of
the penalties applicable to violation of conditions of release.

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ANTHONY R. MAUTONE
U.S. MAGISTRATE JUDGE

 

9/17/2020
DATE
